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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 22-mj-03298-LFL

 UNITED STATES OF AMERICA,

       Plaintiff,
 v.

 YVES RICHARD LARRIEUX,

       Defendant.


          NOTICE OF TEMPORARY APPEARANCE AS COUNSEL

       COMES NOW Larry T. McMillan, Esq. and files his temporary appearance

 as counsel for the above-named Defendant. This appearance is made with the

 understanding that the undersigned counsel will fulfill any obligations imposed by

 the Court such as preparing and filing documents necessary to collateralize any

 personal surety bond which may be set.

                                                  Counsel’s Name:

                                                  Larry T. McMillan, Esq.
                                                  Florida Bar No.: 998745
                                                  Donet, McMillan & Trontz, P.A.
                                                  3250 Mary Street, Suite 406
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       DATED: August 1, 2022.

                                                 Respectfully submitted,

                                                 Donet, McMillan & Trontz, P.A.

                                           By: /s/ Larry T. McMillan
                                              Larry T. McMillan, Esq.
                                              Florida Bar No.: 998745
                                              Attorney for Defendant

                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 1, 2022, undersigned counsel

 electronically filed the foregoing Defendant’s Notice of Temporary Appearance

 with the Clerk of the Court using CM/ECF, which will send a Notice of Electronic

 Filing (NEF) to all counsel of record.

                                                 Donet, McMillan & Trontz, P.A.

                                           By: /s/ Larry T. McMillan
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